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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     EBONY L. PIPKINS
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 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )         No. Cr. S 05-122 GEB
                                     )
12                  Plaintiff,       )         STIPULATION AND [lodged] ORDER TO
                                     )         REDUCE SENTENCE PURSUANT TO 18
13        v.                         )         U.S.C. § 3582(c)(2)
                                     )         RETROACTIVE CRACK COCAINE REDUCTION
14   EBONY L. PIPKINS,               )         CASE
                                     )
15                  Defendant.       )         Date: June 6, 2008
                                     )         Time: 9:00 a.m.
16   _______________________________ )         Judge: Hon. GARLAND E. BURRELL, Jr.
17        Defendant, EBONY L. PIPKINS, by and through her attorney,
18   Assistant Federal Defender David M. Porter, and plaintiff, UNITED
19   STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney
20   Anne E. Pings, hereby stipulate as follows:
21        1.      Pursuant to 18 U.S.C. § 3582(c)(2), this court may reduce the
22   term of imprisonment in the case of a defendant who has been sentenced
23   to a term of imprisonment based on a sentencing range that has
24   subsequently been lowered by the Sentencing Commission pursuant to 28
25   U.S.C. § 994(o);
26        2.      The sentencing range applicable to Ms. Pipkins was
27   subsequently lowered by the United States Sentencing Commission in
28   Amendment 706 by two levels;
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 1        3.      Accordingly, Ms. Pipkins’s sentencing range has been reduced
 2   from 33 to 31, and the parties agree that an appropriate sentence in
 3   light of all the circumstances and taking into consideration the
 4   departure she received at the original sentencing would be 108 months;1
 5        4.      Ms. Pipkins merits a reduction in his sentence based on the
 6   factors listed in 18 U.S.C. § 3553(a), as well as considerations of
 7   public safety and Ms. Pipkins’s positive post-sentencing conduct;
 8        5.      Accordingly, the parties request the court to enter the order
 9   lodged herewith reducing Ms. Pipkins’s term of imprisonment to 108
10   months.
11   Dated:     May 9, 2008
12   Respectfully submitted,
13   McGREGOR SCOTT                            DANIEL J. BRODERICK
     United States Attorney                    Federal Defender
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15
        /s/ Anne E. Pings                        /s/ David M. Porter
16   ANNE E. PINGS                             DAVID M. PORTER
     Assistant U.S. Attorney                   Assistant Federal Defender
17
     Attorney for Plaintiff                    Attorney for Movant
18   UNITED STATES OF AMERICA                  EBONY L. PIPKINS
19                                           ORDER
20        This matter came before the Court on the pro se motion of the
21   defendant for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2)
22   filed on March 26, 2008.        The motion was set for hearing on June 6,
23   2008, but because the parties have stipulated to the resolution, the
24   matter is taken off calendar.
25
26        1
            If the Court is not inclined to resentence at the term
     recommended by both parties, the government and the defendant request
27   that oral presentations be heard by the Court on June 6, 2008 at the
     hearing currently set for the motion.
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     STIPULATION AND ORDER TO REDUCE SENTENCE
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 1        The parties agree, and the Court finds, that Ms. Pipkins is
 2   entitled to the benefit of the retroactive amendment reducing crack
 3   cocaine penalties, which reduces the applicable offense level from 33
 4   to 31.
 5        IT IS HEREBY ORDERED that the term of imprisonment originally
 6   imposed is reduced to 108 months.
 7        IT IS FURTHER ORDERED that all other terms and provisions of the
 8   original judgment remain in effect.
 9        Unless otherwise ordered, Ms. Pipkins shall report to the United
10   States Probation office closest to the release destination within
11   seventy-two hours.
12   Dated:    May 12, 2008
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14                                       GARLAND E. BURRELL, JR.
15                                       United States District Judge

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     STIPULATION AND ORDER TO REDUCE SENTENCE
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